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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 PEOPLE FOR THE ETHICAL
 TREATMENT OF ANIMALS, MADELINE
 KRASNO, and RYAN HARTKOPF,

                Plaintiffs,
                                                       Civil Action No. 1:21-cv-02380-BAH
        v.

 LAWRENCE A. TABAK, in his official
 capacity as Acting Director of the National
 Institutes of Health, and XAVIER
 BECERRA, in his official capacity as
 Secretary of the U.S. Department of Health
 and Human Services,

                Defendants.


                          DECLARATION OF ALYSSA MORONES

       Pursuant to Local Rule 83.2(d), I, Alyssa Morones, submit this declaration in support of

my application for leave to appear and practice in this case pro hac vice.

       1.      My full name is Alyssa Sarah Morones.

       2.      I am an attorney with the Knight First Amendment Institute at Columbia

University. My office is located at 475 Riverside Drive, Suite 302, New York, NY, 10115. My

office telephone number is (646) 745-8500.

       3.      I was admitted to practice law in the State of California on April 12, 2022. I

remain a member in good standing. My bar registration number is 343358.

       4.      I have never been disciplined by any bar, and there are no disciplinary

proceedings pending against me as a member of the bar in any jurisdiction.

       5.      I have never been admitted to practice in this Court pro hac vice.
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          6.         I d o n ot e n g a g e i n t h e pr a cti c e of l a w fr o m a n offi c e l o c at e d i n t h e Distri ct of

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